
360 S.E.2d 138 (1987)
87 N.C. App. 169
The NORTH CAROLINA PRESS ASSOCIATION, INC., and the News and Observer Publishing Company, d/b/a The News and Observer and The Raleigh Times
v.
C.D. SPANGLER, Jr., President of The University of North Carolina and Arthur Padilla, Associate Vice President for Academic Affairs of the University of North Carolina.
No. 8710SC105.
Court of Appeals of North Carolina.
September 15, 1987.
*139 Lacy H. Thornburg, Atty. Gen. by Andrew A. Vanore, Jr., Chief Deputy Atty. Gen., Edwin M. Speas, Jr., Sp. Deputy Atty. Gen., and Laura E. Crumpler, Asst. Atty. Gen., Raleigh, for State.
Tharrington, Smith &amp; Hargrove by Wade H. Hargrove, Michael Crowell, and Randall M. Roden, Raleigh, for plaintiffs-appellees.
JOHNSON, Judge.
We are met at the threshold with a problem of mootness. At issue was whether the chancellors' reports were public records under G.S. sec. 132-1 subject to disclosure. Appellants excepted to the trial court's finding that the records were made and received pursuant to law in connection with the transaction of public business by the University, a government agency, and that such records are therefore public and subject to disclosure. However, on 14 November 1986, appellants publicly disclosed the chancellors' reports that are the subject of this appeal. Thus, the issue before this Court was rendered moot by appellant publicly disclosing the chancellors' reports.
The doctrine of mootness applies:
[w]henever, during the course of litigation it develops that the relief sought has been granted or that the questions originally in controversy between the parties are no longer at issue, the case should be dismissed, for courts will not entertain or proceed with a cause merely to determine abstract propositions of law.
Unlike the question of jurisdiction, the issue of mootness is not determined solely by examining facts in existence at the commencement of the action. If the issues before a court or administrative body become moot at any time during the course of the proceedings, the usual response should be to dismiss the action.
In re Peoples, 296 N.C. 109, 147-48, 250 S.E.2d 890, 912 (1978), cert. denied, 442 U.S. 929, 99 S.Ct. 2859, 61 L.Ed.2d 297 (1979) (citations omitted).
Applying the doctrine of mootness to the case sub judice we find that the question originally in controversy is no longer at issue. Thus, appellant's appeal is moot and this appeal is
Dismissed.
ARNOLD and PARKER, JJ., concur.
